Case 2:20-cv-13134-LVP-RSW ECF No. 44, PageID.3015 Filed 12/03/20 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN



TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL
HAGGARD, CHARLES JAMES                                CASE No. 20-cv-13134
RITCHARD, JAMES DAVID
HOOPER, and DAREN WADE                                HON. LINDA V. PARKER
RUBINGH,

       Plaintiffs.

v.

GRETCHEN WHITMER, in her
Official capacity as the Governor
Of the State of Michigan,
JOCELYN BENSON, in her official
Capacity as Michigan Secretary of
State and the Michigan BOARD OF
STATE CANVASSERS.

       Defendants.

____________________________________________________________________________


                            MOTION FOR EXTENSION OF TIME
                                      Fed. R. Civ. P. 6(b)(A)
       Now comes the Plaintiffs by and through counsel, pursuant to Rule 6(b)(A) and move

this Court for a order to extend time to file a reply to the Defendant’s Response to Plaintiff’s

Emergency Motion for Temporary Restraining Order, and move this Court for an order to extend

time from 8:00pm on December 3, 2020 to 10:00pm on December 3, 2020 to file their reply. In

support hereof, Plantiffs show the following.

       1. The time for filing the Reply to the Defendants’ response has not expired.
Case 2:20-cv-13134-LVP-RSW ECF No. 44, PageID.3016 Filed 12/03/20 Page 2 of 2




       2. This motion is not being made for the purpose of delay, but is made based upon

          current assignments and the need for more time to prepare a reply.

       3. All of the Defendants and Interveners have been contacted. At the time of this filing

          the original Defendants have responded and do not oppose.

       Therefore, Plaintiffs respectfully request the Court for an order extending the time to file

a reply to December 3, 2020 at 10:00pm.

                                                             Respectfully submitted,
                                                             GREGORY ROHL (P39185)
                                                             /s/Gregory Rohl
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                                                             RICHARD S. HAGERSTROM (P57885)
                                                             /s/Richard S. Hagerstrom
                                                             222 W. Genesee St.
                                                             Lansing, MI 48933
                                                             517-763-7499


                                        PROOF OF SERVICE
                              The undersigned certifies that the foregoing instrument was
                              served upon all parties to the above cause on December 3,
                              2020 by:
                                 U.S. Mail                        Fax
                                 Certified Mail                   Regular Mail
                                 Efiling and Eservice             Hand Delivery

                                        /s/ Amanda Perkins
                                        AMANDA PERKINS
